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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 115 f~
EASTERN DIVISION

  

 

HALEY NICOLE RHODES, a minor,
and BRANDON MATTHEW
RHODES, a minor, by and through
their parents, WANDA MARIE
RHODES and BUSTER LEE RHODES,
and WANDA MARIE RHODES and
BUSTER LEE RHODES, Individually,

Plaintiffs,
No. 05-1020-JDT/tmp
vs.

SUSAN WALLACE, Individually, and

HENI)ERSON COUNTY BOARD oF
EDUCATION,

Defendants.

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by Written notice, the following dates were
established as the final dates for:

MOTIONS TO AMEND PLEADlNGS AND JOIN PARTIES:

for Plaintiff: August 3l, 2005
for Defendant: September 30, 2005
DISCOVERY:

(a) REQUESTS FOR PRODUCTION, INTERROGATORlES AND
REQUESTS FOR ADMISSIONS: January 31, 2006
(i) Each party is limited to thirty (30) interrogatories

(b) EXPERT DISCLOSURE (Rule 26(3)(2)):
(i) Plaintift"s Experts: January 15, 2006

Thl's document entered on the doc i<et Sheet in comm lance

1111-11 me 5a and/or 7913) FHcP_qn §2'.71~'7 O_J

 

 

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(ii) Defendant’s Experts: February 15, 2006
(iii) Plaintif`f"s Rebuttal Experts March 3, 2006

(c) DEPOSITIONS: May ]9, 2006
(i) Maximum of fifty (50) depositions by each party
(ii) Each deposition is limited to a maximum of two (2) seven (7) hour
days

(d) SUPPLEMENTATION: Supplementation under Rule 26(e) due as required
by the Federal Rules of Civil Procedure but no less than sixty (60) days
before the date of trial without leave of court or by agreement of the partiesl

FILING DIsPosrn\/E MoTIoNs: october 10, 2006
FINAL Lisrs oF wiTNEsSEs AND simian (Rule 26(11)(3)):

(a) for Plaintiff: December 8, 2006
(b) for Defendant: December 22, 2006

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last 10 to 15 days and is SET for JURY TRIAL
beginning January 8, 2007 at 9:30 a.m. Ajoint pretrial order is due on December 22, 2006. In the
event the parties are unable to agree on a joint pretrial order, the parties must notify the court at least
ten days before trial. A pretrial conference may be Scheduled upon request of the parties.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be submitted to
the opposing party in sufficient time for the opposing party to respond by the deadline for completion
of discovery. For example, if the FED R. CIV. P. allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery

Motions to compel discovery are to be filed and served by the discovery deadline or within
30 days of the default or service of the response, answer, or objection which is the subject of the
motion if the default occurs within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good cause shown, or any objection to the default, response, or answer
shall be waived.

The parties are reminded the pursuant to Local Rule 7(a)(1)(A) and (a)(l)(B), all motions,
except motions pursuant to FED R. CIV. P. 12, 56, 59, and 60, shall be accompanied by a proposed
Order and a Certificate of Consultation.

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The opposing party may file a response to any motion filed in this matter. Neith er party may
file an additional reply, however, without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting forth
the reasons for which a reply is required.

At this time, the parties have not given consideration to whether they wish to consent to trial
before the magistrate judge. The parties will file a written consent form with the court should they
decide to proceed before the magistrate judge.

The parties are encouraged to engage in court-annexed attorney mediation or private

mediation on or before the close of discover};.

This order has been entered after consultation with trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this Order will not be modified or extended

I'l` IS SO ORDERED.

th

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 1:05-CV-01020 Was distributed by faX, mail, or direct printing on
May 27, 2005 to the parties listed.

 

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Honorable .l ames Todd
US DISTRICT COURT

